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                Exhibit A
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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY                              Master Civil No. 01-cv-12257
AVERAGE WHOLESALE PRICE
LITIGATION                                                 MDL No. 1456

THIS DOCUMENT RELATES TO                                   Judge Patti B. Saris
J&J CLASS 1


              CLASS COUNSEL’S REPLY BRIEF IN SUPPORT OF THEIR
               MOTION FOR SANCTIONS AGAINST DON HAVILAND

       In their Opening Motion, Class Counsel made clear that, though the Withdrawing

Plaintiffs represented to the Court that they would pursue the case against J&J to its end, in order

to avoid having to appear before the Court in which he has been removed as Class Counsel, and

to punish Class Counsel whom he believes to be responsible for his removal, Mr. Haviland

withdrew these plaintiffs’ claims three days before oral argument on J&J’s post-remand motions

for summary judgment. In response [Dkt. No. 7100], Mr. Haviland claims that his clients never

intended to pursue this case to its end (id. ¶ 2), and that the Withdrawing Plaintiffs have intended

to withdraw ever since Class Counsel did not file a separate Notice of Appeal of this Court’s

dismissal of Class 1’s claims against J&J. Id. 1 (Mr. Haviland also claims that the Withdrawing

Plaintiffs are angry because, with regard to the Track 2 settlement, Class Counsel allegedly

“replaced” them another class representative. Id.) These petty retorts are further support for

Class Counsel’s Motion.




1
 Mr. Haviland states that Class Counsel “refused” to take this appeal, but does not and never has
offered any evidence that Class Counsel so refused. Indeed, such a position would be absurd
given that Class Counsel assumed the prosecution of the appeal after Mr. Haviland was
disqualified and succeeded in having this Court’s entry of judgment overturned.
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        If this Court is to take Mr. Haviland at his word, the Withdrawing Plaintiffs have wanted

to withdraw since Class Counsel replaced Mr. Haviland in the appeal of this Court’s entry of

judgment against Class 1 and in favor of J&J. See Dkt. No. 7100 ¶ 2. The fact that Mr.

Haviland, knowing this to be true, encouraged or otherwise advised his clients to remain in the

case against their wishes only to withdraw at a time that would hurt the Class and Class Counsel

most – in order to serve his own interests – is exactly why Class Counsel filed their Motion in

the first instance.

        Thus, for all of the reasons set forth in Class Counsel’s Motion, to which Mr. Haviland

has in large part failed to provide any response,2 this Court should, pursuant to 28 U.S.C. § 1927,

require Mr. Haviland to pay the attorneys’ fees incurred by Class Counsel in connection with

pursuing the Class 1 appeal against J&J, and in briefing the post-remand motions for summary

judgment. Awarding those fees is appropriate because neither of those tasks would have been

required if the Withdrawing Plaintiffs had withdrawn their individual claims in February 2008,

when Class Counsel were replaced as counsel for the First Circuit J&J appeal and Mr. Haviland

has represented the Withdrawing Plaintiffs initially wanted to withdraw.

DATED: May 12, 2010                                  Respectfully submitted,


                                                     By: /s/ Steve W. Berman
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2
 Mr. Haviland claims that he bases his Opposition on “evidence that will be elicited” at the June
21, 2007 hearing on Class Counsel’s Motion. That hearing is not an evidentiary hearing and any
“evidence” introduced at that hearing without notice to Class Counsel or J&J should not be
considered.


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                                CERTIFICATE OF SERVICE

       I hereby certify that I, Steve W. Berman, an attorney, caused a true and correct copy of

the foregoing, Class Counsel’s Reply Brief in Support of Their Motion for Sanctions Against

Don Haviland to be delivered to all counsel of record by electronic service pursuant to

Paragraph 11 of the Case Management Order No. 2, by sending on May 12, 2010, a copy to

LexisNexis File & Serve for posting and notification to all parties.




                                                     /s/ Steve W. Berman
                                                     Steve W. Berman




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